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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                  AT ASHLAND

 CRIMINAL ACTION NO. 20-9-DLB-EBA

 UNITED STATES OF AMERICA                                                    PLAINTIFF


 v.              ORDER ADOPTING RECOMMENDED DISPOSITION


 CRAIG SIMMS                                                               DEFENDANT

                               ** ** ** ** ** ** ** **

       This matter is before the Court upon Magistrate Judge Edward B. Atkins’s

 Recommended Disposition (Doc. # 52), wherein he recommends that Defendant Craig

 Simms’s Motion to Suppress (Doc. # 37) be denied. Defendant having filed Objections

 to the Recommended Disposition, (Doc. # 56), and the United States having replied, (Doc.

 # 60), the Recommended Disposition is now ripe for the Court’s review. For the reasons

 set forth herein, Defendant’s Objections are overruled, the R&R is adopted as modified

 herein, and the Motion to Suppress is denied.

 I.    FACTUAL AND PROCEDURAL BACKGROUND

       On May 9, 2020, law enforcement officers learned that Charles Bosley, a

 defendant in this case, was expected to transport approximately two pounds of

 methamphetamine from Louisville to a confidential informant (“CI”) in Ashland. (Doc. #

 59 at 48). A Louisville Detective contacted the commander of the Northeast Kentucky

 Drug Task Force, Ryan McDavid, to inform him that a known CI drove by Bosley’s home

 and observed a rental vehicle, described as a dark grey Nissan. (Id. at 49-50). The agent

 further informed McDavid that Bosley often drove a large silver SUV. (Id. at 50). McDavid

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 testified that it was common for drug distributors to travel in pairs of vehicles and that

 Bosley was known to travel in this manner. (Id. at 51). McDavid gave this information,

 including the vehicle descriptions, to officers with the Kentucky State Police (“KSP”). (Id.

 at 50).

           At approximately 8:20 p.m. on May 9, 2020, Sergeant Kirkland of the KSP informed

 officers over the radio, including Trooper Vanhoose, that a silver Nissan was traveling

 from Louisville to Ashland on I-64 eastbound and was carrying narcotics.1 (Doc. # 59 at

 5-6, 10, 16, 23). Kirkland further informed the officers that the silver Nissan had recently

 passed Winchester, Kentucky, around forty miles west from where Trooper Vanhoose

 was stationed in Morehead, Kentucky.2 (Id. at 15, 23). The driver of the vehicle was

 suspected to be Bosley. (Id. at 16, 23). Around 8:30 p.m., Trooper Vanhoose observed

 the described vehicle traveling eastbound on I-64 without its headlights illuminated and

 noticed a second vehicle was following the silver Nissan very closely. (Id. at 16-17).

 During the hearing, Vanhoose explained that in drug interdiction, there is often a lead car

 and a trail car, with one carrying money and one carrying narcotics. (Id. at 17). Vanhoose

 believed that the silver Nissan violated traffic laws by not using its headlights after dusk

 as he could not see the car “till it was almost right up on [him].” (Id. at 18). Vanhoose

 stopped the vehicle at 8:36 p.m. (Id. at 18, 22).

           Trooper Vanhoose further testified that he made the stop because the vehicle

 “didn’t have its headlights on, and . . . that it was being followed very closely by another


 1       During Trooper Vanhoose’s testimony, counsel for Simms elicited information that in a
 hearing in Rowan County Court, Vanhoose testified that he was only told to look out for a dark
 rental car. (Doc. # 59 at 31-32).
 2     The Court takes judicial notice of the distance between Winchester, Kentucky and
 Morehead, Kentucky. See FED. R. EVID. 201.

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 vehicle,” activity which was consistent with drug interdiction based on his training. (Doc.

 # 59 at 17). After observing the vehicles traveling closely together, combined with the

 previous information relayed to Trooper Vanhoose by Sergeant Kirkland, Vanhoose

 stated he “put two and two together” and “it kind of clicked in my head that that is probably

 the vehicle that’s going to be carrying the narcotics.” (Id.). On the uniform citation,

 Vanhoose stated he stopped the vehicle because the headlights were off at a time less

 than thirty minutes before dusk. (Id. at 33). The statute Vanhoose was purportedly

 enforcing, Ky. Rev. Stat. § 189.030(1), states, “[h]eadlamps, when required on a vehicle,

 shall be illuminated: (a) [d]uring the period from one-half (1/2) hour after sunset to one-

 half (1/2) hour before sunrise; and (b) [a]t such other times as atmospheric conditions

 render visibility as low as or lower than is ordinarily the case during the period.” (emphasis

 added). The sunset on May 9, 2020 was at 8:33 p.m. (Doc. # 59 at 35). The stop

 occurred three minutes later at 8:36 p.m. (Id.). Trooper Vanhoose justified the stop

 because he could not see the vehicle until it was right in front of him. (Id. at 36). During

 the stop, Vanhoose asked Simms to turn on his head lights and did not plan on issuing

 him a ticket. (Id. at 37).

        During the traffic stop, Vanhoose told Simms why he was stopped, asked for his

 driver’s license, registration, and proof of insurance. (Id. at 18). Simms cooperated,

 explained the vehicle was a rental, and gave Vanhoose the rental agreement and

 insurance.    (Id.).   Simms’s name was not on the rental agreement and Vanhoose

 described Simms as visibly nervous. (Id. at 18-19). At this point, another officer, Trooper

 Mirus, arrived on the scene. (Id. at 18). Trooper Vanhoose asked Simms to step out of

 the vehicle and began questioning him about where he was going and what his plans



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 were. (Id. at 19). During this questioning, Simms stated he was going to Ashland to visit

 family, but Trooper Vanhoose found Simms’s explanation suspicious as there was no

 luggage in the car. (Id.). After a few minutes of questioning, the Troopers asked Simms

 for his permission to search the vehicle, which he granted. (Id.). At no point did Trooper

 Vanhoose tell Simms he was not free to leave, or that he was being detained. (Id. at 20).

        During Vanhoose’s search of the vehicle, a mere fourteen minutes into the stop,

 Vanhoose found a driver’s license and debit card in the center console belonging to

 Charles Bosley. (Id. at 19-20, 23). Upon searching the trunk of the vehicle, Vanhoose

 discovered a black draw string bag in the space for a spare tire. (Id. at 21). Within the

 bag was a Walmart bag that held two vacuum sealed bags of a substance Trooper

 Vanhoose believed to be methamphetamine. (Id.). The stop, in its entirety, took nineteen

 minutes. (Id. at 24).

        On July 16, 2020, Simms was indicted for Possession with Intent to Distribute

 Methamphetamine and Conspiracy to Distribute Methamphetamine. (Doc. # 1 at 1-2).

 Following his indictment, Simms moved to suppress the evidence obtained in connection

 with the traffic stop. (Doc. # 37). Judge Atkins held a evidentiary hearing on October 16,

 2020, (Doc. # 46), and on November 16, 2020, Judge Atkins recommended that Simms’s

 Motion to Suppress be denied, (Doc. # 52). Defendant timely filed Objections to the

 Recommended Disposition, (Doc. # 56), and the Government Responded, (Doc. # 60).

        Judge Atkins’s Recommended Disposition discussed each of Defendant Simms’s

 original suppression arguments in turn – that Trooper Vanhoose lacked probable cause

 or reasonable suspicion to stop Simms’s vehicle, that the length of the stop was extended

 longer than necessary to effectuate the purpose of the stop, and that the search of the



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 vehicle was not consensual.       (Doc. # 52 at 4).     First, Judge Atkins explained that

 Vanhoose possessed reasonable suspicion that the vehicle was engaged in criminal

 activity and therefore the investigatory stop was justified. (Id.) (citing Terry v. Ohio, 392

 U.S. 1 (1968)). The Supreme Court has defined reasonable suspicion as “a particularized

 and objective basis for suspecting the particular person stopped of criminal activity.”

 United States v. Cortez, 449 U.S. 411, 417-18 (1981). Judge Atkins found that it was

 reasonable for Trooper Vanhoose to believe Simms was engaged in criminal activity.

 (Doc. # 52 at 5). Among the circumstances Judge Atkins considered were the vehicle

 failing to have its headlights on, the information given to Trooper Vanhoose by Sergeant

 Kirkland   signaling   that   a   vehicle   traveling   east   on   I-64   was   transporting

 methamphetamine, two vehicles traveling closely together, and one of the vehicles

 matching the description given by the detective in Louisville. (Id. at 5). Evaluating each

 of these circumstances together, Judge Atkins found that Vanhoose had a “particularized

 and objective basis to support the stop.” (Id.).

        Next, Judge Atkins opined that even if Trooper Vanhoose lacked reasonable

 suspicion to stop the vehicle, he had the probable cause necessary to legally stop Simms.

 (Id. at 6). In the traffic stop context, the probable cause determination “is fact-dependent

 and will turn on what the officer knew at the time he made the stop.” United States v.

 Ferguson, 8 F.3d 385, 391 (6th Cir. 1993) (emphasis in original). The Fourth Amendment

 will not be offended “so long as the officer has probable cause to believe that a traffic

 violation has occurred or was occurring.” Id. Judge Atkins reasoned that the headlight

 law at issue, Ky. Rev. Stat. § 189.030(1)(b), requires headlamps to be illuminated “at such

 times as atmospheric conditions render visibility as low as or lower than is ordinarily the



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 case during that period.” (Id.). Because of this, Judge Atkins found the secondary

 requirement, along with Trooper Vanhoose’s testimony that he couldn’t see the vehicle

 until it had come “right up on me because it didn’t have its headlights on,” gave Vanhoose

 reason to believe a traffic violation was occurring and therefore established probable

 cause to make the traffic stop. (Id. at 6-7).

        Second, Judge Atkins considered Defendant Simms’s argument that the length of

 the traffic stop violated the Fourth Amendment because it was longer than necessary to

 effectuate the purpose of the stop. (Id. at 7). Simms argued that under Rodriguez v.

 United States, 575 U.S. 348 (2015), an officer cannot extend a traffic stop for longer than

 necessary “to address the traffic violation that warranted the stop.” Id. at 354. Judge

 Atkins acknowledged Rodriguez but deemed it inapplicable to the present case. Judge

 Atkins noted that, in contrast to Rodriguez, there was reasonable suspicion to detain

 Simms and therefore the stop was not predicated solely on a traffic violation. (Doc. # 52

 at 8). Judge Atkins further found that Trooper Vanhoose’s actions were “reasonably

 related in scope to circumstances justifying the initial interference,” as required by United

 States v. Davis. 430 F.3d 345, 353 (6th Cir. 2005) (quoting United States v. Hill, 195 F.3d

 258, 264 (6th Cir. 1999)). (Id.). Finding both the stop and its length to be reasonable,

 Judge Atkins concluded that there was no violation of the Fourth Amendment. (Doc.

 # 52 at 9).

        Third, Judge Atkins evaluated Simms’s argument that any consent given to search

 his vehicle was not given voluntarily. (Id.). The controlling factor in whether consent is

 voluntarily given is “whether a reasonable person would feel free to decline the officers’

 requests or otherwise terminate the encounter.” Florida v. Bostick, 501 U.S. 429, 436



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 (1991).     Judge Atkins found that the United States proved “by clear and positive

 testimony, that Simms freely gave voluntary consent to search his vehicle.” (Doc. # 52 at

 11). In support of this finding, Judge Atkins acknowledged that Simms was never told he

 could not leave or that he was being detained, and was asked by Trooper Vanhoose if

 the officers could search his vehicle. (Id.).

        Simms filed Objections to the Recommended Disposition, in which he challenged

 the reasonableness of the stop as well as its length. (Doc. # 56). He did not object,

 however, to Judge Atkins’ determination that Simms had consented to the search of the

 vehicle. The United States having filed a Response to the Objections (Doc. # 60), the

 motion to suppress and objections are ripe for review.

 II.    ANALYSIS

        A.      Standard of Review

        Pursuant to 28 U.S.C. § 636(b)(1)(B), a district court judge may “designate a

 magistrate judge to conduct hearings, including evidentiary hearings, and to submit to a

 judge of the court proposed findings of fact and recommendations for the disposition . . .

 of any motion,” including a motion to suppress. Under Federal Rule of Criminal Procedure

 59(b)(1), following a magistrate judge’s recommended disposition, a party has fourteen

 days to file “specific written objections to the proposed findings and recommendations.”

 The district judge is required to “consider de novo any objection to the magistrate judge’s

 recommendation,” and “may accept, reject, or modify the recommendation.” FED. R.

 CRIM. P. 59(b)(3); see also 28 U.S.C. § 636(b)(1)(C). Failure to object is considered

 waiver of the party’s right to review. FED. R. CRIM. P. 59(b)(2).




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        Objections to a magistrate judge’s recommended disposition must be “specific

 written objections to the proposed findings and recommendations.” Id. This necessitates

 that “vague, general, or conclusory objections,” will not be considered and are

 “tantamount to a complete failure to object.” Cole v. Yukins, 7 F. App’x 354, 356 (6th Cir.

 2001). Further, an objection that does “nothing more than state a disagreement with a

 Magistrate’s suggested resolution, or simply summarizes what has been presented

 before, is not an ‘objection’ as that term is used in this context.” United States v.

 Shephard, No. 09-81, 2016 WL 9115464, at *1 (E.D. Ky. Sept. 18, 2016) (quoting

 VanDiver v. Martin, 304 F. Supp. 2d 934, 938 (E.D. Mich. 2004)). Specific objections

 “explain[s] and cite[s] specific portions of the report which [counsel] deem[s] problematic.”

 Robert v. Tesson, 507 F.3d 981, 994 (6th Cir. 2007) (alteration in original) (quoting Smith

 v. Chater, 121 F.3d 709, 1997 WL 415309, at *2 (6th Cir. July 18, 1997) (unpublished

 opinion)).

        B.     Defendant Simms’s Specific Objections

        Simms raises three arguments in his objections: (1) Trooper Vanhoose lacked

 probable cause to stop his vehicle, (2) Trooper Vanhoose lacked reasonable suspicion to

 stop his vehicle, and (3) the length of the stop was unreasonable. (Docs. # 56 at 2, 4-6).

 Each of these arguments will be addressed in turn.

               1.     Probable Cause

        Simms first argues that, contrary to Judge Atkins’s conclusion, there was not

 probable cause to stop Simms’ vehicle. (Id. at 2). Simms has no objection to Judge

 Atkins’s assertion that an officer may stop a vehicle based on probable cause that a traffic

 violation occurred, regardless of what the officer’s real motivation may be for effectuating



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 the stop. (Id.). Instead, Simms takes issue with Judge Atkins’s interpretation of Ky. Rev.

 Stat. § 189.030. (Id. at 3). Trooper Vanhoose’s testimony states that he relied on this

 statute “when he made the decision to stop [Simms’s] vehicle.” (Id.). Simms contends

 that the stop was invalid because while Simms’s headlights were not illuminated, it was

 only 8:32 p.m. when Trooper Vanhoose observed his vehicle, which was prior to sunset

 and well before the half hour after sunset when illuminated headlights are required under

 the statute. (Id. at 3-4). In further support of his argument, Simms points out that no

 government witness testified that “atmospheric conditions rendered visibility lower than is

 ordinarily the case during that period on that evening. There was no evidence that it was

 foggy, cloudy, or overcast.” (Id. at 4). Simms claims that because he was not violating

 the statute on which Trooper Vanhoose relied in making the stop, there was not probable

 cause to stop his vehicle. (Id.).

        The statute at issue, Ky. Rev. Stat. § 189.030(1), states “[h]eadlamps, when

 required on a vehicle, shall be illuminated: (a) [d]uring the period from one-half (1/2) hour

 after sunset to one-half (1/2) hour before sunrise; and (b) [a]t such other times as

 atmospheric conditions render visibility as low as or lower than is ordinarily the case

 during the period.”     (emphasis added).        While Judge Atkins acknowledged that

 § 189.030(1)(a) did not require Simms to have his headlights on at the time he was

 stopped, Judge Atkins reasoned that § 189.030(1)(b) gave Trooper Vanhoose the

 necessary probable cause to stop Simms. (Doc. # 52 at 6). Judge Atkins was persuaded

 by Trooper Vanhoose’s testimony that he did not see Simms’s vehicle approaching until

 it had come “right up on [Trooper Vanhoose] because it didn’t have its headlights on.” (Id.




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 at 7). Judge Atkins used this statement to support a finding that atmospheric conditions

 rendered visibility so low that Simms had in fact violated the statute. (Id.).

        In this Court’s view, it is unlikely that Simms violated Ky. Rev. Stat. § 189.030. As

 Simms points out in his Objection, there was no testimony at the evidentiary hearing that

 atmospheric conditions rendered visibility “as low as or lower than is ordinarily the case

 during the period” thirty minutes after sunset to thirty minutes before sunrise. (Doc. # 56

 at 4). See KY. REV. STAT. § 189.030(1)(b). While Trooper Vanhoose testified that he did

 not see the vehicle until it was fairly close to him, this is not necessarily an indication that

 visibility was “lower than is ordinarily the case during that period.”         KY. REV. STAT.

 § 189.030(1)(b).

        The statute itself expressly requires headlights from the period beginning after

 sunset and lasting until just before sunrise. KY. REV. STAT. § 189.030(1)(a). The second

 requirement in § 189.030(1)(b), that headlights should be used when visibility is “as low

 as or lower than is ordinarily the case during the period,” therefore contemplates

 situations not involving sunrise or sunset where visibility is impaired because of factors

 such as rain or fog. No such factor was present when Simms was stopped. Statutory

 construction requires statutes be interpreted “as a whole, giving effect to each word and

 making every effort not to interpret a provision in a manner that renders other provisions

 of the same statute inconsistent, meaningless or superfluous.” Mitchell v. Chapman, 343

 F.3d 811, 825 (6th Cir. 2003) (quoting Lake Cumberland Trust, Inc. v. EPA, 954 F.2d

 1218, 1222 (6th Cir. 1992)). If Ky. Rev. Stat. § 189.030(1)(b) was interpreted to mean a

 violation occurs any time a driver does not have headlights on after sunset, that would

 render § 189.030(1)(a) to be superfluous. Because statutory construction “avoid[s] an



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 interpretation which would render words superfluous or redundant,” the Court finds it

 unlikely that Simms violated Ky. Rev. Stat. § 189.030 by failing to turn on his headlights.

 Walker v. Bain, 257 F.3d 660, 667 (6th Cir. 2001). Unfortunately for Simms, this finding

 does not help him in his quest to suppress the evidence.

        Here, even without a traffic violation, Trooper Vanhoose’s reasonable mistake of

 law gave him probable cause to pull over the vehicle. See United States v. Atlas, No.

 2:20-cr-49, 2020 WL 3777054, at *3 (S.D. Ohio July 7, 2020) (citing Heien v. North

 Carolina, 574 U.S. 54, 62-63 (2014) (finding that probable cause can be based on a

 reasonable mistake of law in the context of a traffic violation)). Heien v. North Carolina is

 particularly instructive in this case. In Heien, an officer pulled over a defendant initially

 due to a faulty brake light. 574 U.S. at 57. After the defendant consented to a search of

 his vehicle, the officer found cocaine. Id. at 58. The defendant challenged the initial

 cause for the stop because “driving with only one working brake light was not actually a

 violation of North Carolina law.” Id. at 58-59. The Supreme Court found that although

 the defendant was not technically in violation of the law, the officer’s error was reasonable

 and therefore “there was reasonable suspicion justifying the stop.” Id. at 67. Here, the

 facts are substantially similar to those in Heien. Trooper Vanhoose pulled over Simms

 for the purported violation of not driving with his headlights illuminated in the time period

 thirty minutes prior to sunset. (Doc. # 59 at 33). The statute’s text instead requires that

 headlights be illumined in the time period thirty minutes after sunset. KY. REV. STAT. §

 189.030. It was objectively reasonable for Trooper Vanhoose to mistakenly believe that

 Simms’s actions were in violation of Kentucky law. Although he misapplied the statute,




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 his error of law was reasonable and the stop was lawful.           Heien, 574 U.S. at 67.

 Accordingly, Defendant’s first objection is overruled.

               2.     Reasonable Suspicion

        In addition to probable cause that a traffic violation had been committed, Vanhoose

 had reasonable suspicion of Simms’s involvement in drug trafficking that provided a

 significant and independent basis to legally stop Simms.         The Court “review[s] the

 reasonableness of police conduct in effectuating a traffic stop under the principles set

 forth in Terry v. Ohio.” United States v. Stepp, 680 F.3d 651, 661 (6th Cir. 2012). Terry

 sets forth a two-part test: (1) “whether there was a proper basis for the stop” and (2) “if

 the stop was proper . . . whether the degree of intrusion was reasonable related in scope

 to the situation at hand.” Id. (internal quotations omitted) (quoting United States v. Davis,

 430 F.3d 345, 354 (6th Cir. 2005)). Whether there was a proper basis for the stop is

 dependent on whether the officer possessed reasonable suspicion.                Reasonable

 suspicion requires that the stop be supported by “specific and articulable facts that give

 rise to a reasonable suspicion of criminal activity” when evaluating the totality of the

 circumstances. United States v. Richardson, 385 F.3d 625, 630 (6th Cir. 2004) (quoting

 United States v. Orsolini, 300 F.3d 724, 728 (6th Cir. 2002)). This “is more than an ill-

 defined hunch; it must be based upon a particularized and objective basis for suspecting

 the particular person . . . of criminal activity.” Id. (quoting United States v. Cortez, 449

 U.S. 411, 417-18 (1981)). However, when evaluating if there was reasonable suspicion

 the officer need not meet a “high bar”; instead “the officer needs only ‘a minimal level of

 objective justification’ for the stop.” United States v. Coker, 648 F. App’x 541, 544 (6th

 Cir. 2016) (quoting Illinois v. Wardlow, 528 U.S. 119, 123, 127 (2000)).



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        Judge Atkins correctly noted that Trooper Vanhoose possessed reasonable

 suspicion that justified stopping Simms’s vehicle. (Doc. # 52 at 5-6). Putting aside any

 potential traffic violation, the facts known to Trooper Vanhoose were sufficient to create

 reasonable suspicion that Simms was involved in drug trafficking. Trooper Vanhoose had

 been told by Sergeant Kirkland that a gray Nissan transporting methamphetamine would

 be traveling east on I-64 and that the vehicle had a short time earlier passed a point about

 forty miles to the west. (Doc. # 59 at 6, 16, 23). Vanhoose thus knew the make and color

 of the car, the direction it was traveling, and a relatively narrow timeframe during which it

 would be passing.     Sure enough, Trooper Vanhoose observed a vehicle fitting the

 description provided driving on I-64 eastbound around ten minutes after hearing the report

 on dispatch. (Id. at 23). In addition, Vanhoose observed another vehicle traveling closely

 behind the gray Nissan, which he knew from his training and experience to be common

 in drug trafficking operations. (Id. at 17). Considering the totality of the circumstances

 surrounding the stop, Trooper Vanhoose had a reasonable suspicion that the vehicle was

 engaged in criminal activity.

        Case law supports this conclusion. In United States v. Hurst, 228 F.3d 751, 758

 (6th Cir. 2000), the Sixth Circuit held that law enforcement officers may stop a vehicle

 matching a reported description based in part on its location relative to where it was last

 seen. The police in Hurst were looking for a “dark-colored Thunderbird” that had been

 spotted leaving the scene of a house robbery. Id. at 755. The police stopped a car

 roughly matching that description in a “location consistent with the time needed to travel

 [from the victim’s] residence.” Id. at 757. The court held that these facts, “taken together

 with reasonable inferences, certainly give rise to reasonable suspicion of criminal activity.”



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 Id. While the proximity of the vehicle based on the time that had elapsed was more exact

 in Hurst, here, unlike in Hurst, the officer knew the road on which the vehicle was travelling

 and the direction in which it was going. The Sixth Circuit has since relied upon Hurst to

 hold that even basic descriptors such as the color, size, and make of a car, when coupled

 with location, can give rise to reasonable suspicion justifying a stop. See United States

 v. Molina, 226 F. App’x 523, 528 (6th Cir. 2007).           Moreover, in United States v.

 Belakhdhar, the Sixth Circuit recognized that vehicles driving in tandem is a factor law

 enforcement officers may consider when determining whether the drivers are engaged in

 drug trafficking. 924 F.3d 925, 928 (6th Cir. 2019). Therefore, the Court here finds that

 based on the information communicated to Trooper Vanhoose and his personal

 observations, he had a “particularized and objective basis” for suspecting that Simms was

 engaged in criminal activity. Richardson, 385 F.3d at 630.

        The Court rejects Defendant’s argument that Trooper Vanhoose’s testimony was

 contradictory and is therefore unreliable. (See Doc. # 56 at 5). During his testimony,

 Vanhoose explained that in Rowan County Court he was testifying from memory instead

 of what was on the CAD system (the dispatch log), which records what is said over the

 radio. (Doc. # 59 at 32-33). Trooper Vanhoose clearly explained that he “make[s]

 numerous traffic stops a day, and numerous ATLs, and [he] couldn’t really directly [re]call

 at that point what kind of car it was.” (Id. at 33). In essence, Vanhoose could not recall

 the exact message from Sergeant Kirkland at the time without the assistance of the CAD.

 Because the CAD recorded what Sergeant Kirkland said over the radio, it likely represents

 the most accurate description of events.          Therefore, the Court does not see any

 meaningful difference between the account of events given by Vanhoose and finds that



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 the Government still met its burden in showing reasonable suspicion. For all of these

 reasons, Defendant’s second objection is overruled.

               3.     Reasonable Suspicion During the Stop and Length of the Stop

        Even in the absence of reasonable suspicion to justify stopping Simms’s vehicle,

 as discussed above, Trooper Vanhoose had probable cause based on his mistake of law

 to stop the vehicle initially. Therefore, any observations by Trooper Vanhoose following

 the stop of Simms’s vehicle could also contribute to a finding of reasonable suspicion that

 permitted investigation beyond the completion of the traffic stop. During the stop, Simms

 was visibly nervous, and although he provided a rental agreement and proof of insurance,

 the rental agreement was not in his name. (Doc. # 59 at 18). See United States v.

 Winters, 782 F.3d 289, 300 (6th Cir. 2015) (“drug couriers may commonly drive other

 people’s rental cars”) (internal quotation marks omitted). Moreover, the signatory of the

 rental agreement was not present in the car with Simms, a fact courts have deemed

 significant in the reasonable suspicion analysis.      See id.   Finally, Simms provided

 information about his plans to visit his family in Ashland but suspiciously did not have any

 luggage or clothes in the vehicle corroborating his plans. Doc. # 59 at 19). These

 circumstances alone likely rose to the level of reasonable suspicion. See Winters, 782

 F.3d at 299-303 (finding reasonable suspicion to detain a driver further when his

 “nervousness, inconsistent and implausible travel plans, and odd rental arrangement”

 were “considered in the aggregate”). Therefore, when combined with the information

 previously known to Vanhoose, the “minimal level of objective justification” necessary to

 justify reasonable suspicion is met. Coker, 648 F. App’x at 544 (quoting Wardlow, 528

 U.S. at 123, 127).



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        Simms argues that the length of the traffic stop was unreasonable because

 Trooper Vanhoose “continued the detention of the defendant after the mission of the

 traffic stop was accomplished.” (Doc. # 56 at 5). Simms’s argument is largely based on

 the rule in Rodriguez v. United States, 575 U.S. 348, 354 (2015), that “the tolerable

 duration of police inquiries in the traffic-stop context is determined by the seizure’s

 “mission”—to address the traffic violation that warranted the stop.” (citing Illinois v.

 Cabelles, 543 U.S. 405, 407 (2005)). Simms argues that because Trooper Vanhoose

 testified that he originally pulled Simms over for driving without his headlights illuminated

 and never intended to write Simms a ticket, the mission of the traffic stop was

 accomplished within minutes. (Doc. # 56 at 6-9). Further, Simms states that nervousness

 is not enough to justify prolonging an otherwise completed stop.               (Id. at 7-8).

 Unfortunately for Simms, as noted by Judge Atkins, Rodriguez is irrelevant in this

 scenario. (Doc. # 52 at 8). In Rodriguez, the Supreme Court clearly stated that an officer

 “may conduct certain unrelated checks during an otherwise lawful traffic stop” but “may

 not do so in a way that prolongs the stop, absent the reasonable suspicion ordinarily

 demanded to justify detaining an individual.” 573 U.S. at 355 (emphasis added); see also

 Hernandez v. Boles, 949 F.3d 251, 256 (6th Cir. 2020) (“Rodriguez clarifies that any

 extension of a traffic stop absent independent reasonable suspicion is improper.”)

 (emphasis added).

        Here, as discussed above, Trooper Vanhoose could legally detain Simms

 independent of the traffic violation because he possessed reasonable suspicion that

 Simms was involved in drug trafficking. Therefore, as discussed by Judge Atkins, the

 relevant question is whether the degree of the intrusion based on the reason for the stop



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 was reasonable. (Doc. # 52 at 8) (quoting Davis, 430 F.3d at 353); see also Stepp, 680

 F.3d at 661. The stop in its entirety lasted only nineteen minutes. (Doc. # 59 at 24). The

 Sixth Circuit has upheld stops based on reasonable suspicion that lasted much longer.

 See Coker, 648 F. App’x at 546 (approving a stop lasting thirty-nine minutes in duration);

 United States v. Ervin, 59 F. App’x 631, 635 (6th Cir. 2003) (approving a stop lasting forty-

 five minutes in duration). However, there is no exact time limit that evidences that a Terry

 stop is unreasonable. United States v. Winfrey, 915 F.2d 212, 217 (6th Cir. 1990).

 Instead, a Court should “examine whether the police diligently pursued a means of

 investigation that was likely to confirm or dispel their suspicions quickly, during which time

 it was necessary to detain the defendant.” Orsolini, 300 F.3d at 730 (quoting United

 States v. Sharpe, 470 U.S. 675, 687 (1985)). In order to “dispel their suspicions” officers

 may “continu[e] to question [a defendant] on the same subjects, even if that questioning

 stretche[s] slightly beyond the completion” of the stop. United States v. Garrido, 467 F.3d

 971, 984 (6th Cir. 2006). Additionally, “basic investigatory questions before searching [a]

 vehicle” do not exceed the proper scope of a traffic stop. United States v. Lyons, 687

 F.3d 754, 769 (6th Cir. 2012).

        Here, Trooper Vanhoose and Trooper Mirus attempted to calm Simms down,

 asked where he was going and what he was doing, asked about his lack of luggage, and

 eventually asked him whether they could search his vehicle. (Doc. # 59 at 19). As part

 of a traffic stop, “an officer may make inquiries unrelated to the traffic stop, so long as

 those questions do not measurably prolong the detention and the detainee’s responses

 are voluntary.” Lyons, 687 F.3d at 770. Specifically, “[q]uestions relating to travel plans,

 the driver’s authority to operate the vehicle, or the safety of the officer are the sorts of



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 classic context-framing questions directed at the driver’s conduct at the time of the stop

 that rarely offend our Fourth Amendment jurisprudence.” Id. (quoting Stepp, 680 F.3d at

 662-63) (internal quotation marks omitted). All of the Troopers’ questions were context-

 framing or utilized to confirm or dispel their suspicions that Simms may be transporting

 methamphetamine. These suspicions were bolstered by Simms’s name not being on the

 rental agreement, his nervousness, and his improbable travel plans. (Doc. # 59 at 18-

 19). Additionally, Simms freely gave his consent to search the vehicle, thus extending

 the stop for an extra five minutes, a fact which Simms does not contest in his Objections.

 (Id. at 19). Taking into account all the circumstances of the stop, and acknowledging that

 its total duration was less than twenty minutes, the Court finds that this degree of intrusion

 was reasonable in scope. Accordingly, Defendant’s third objection is overruled.

 III.   CONCLUSION

        Put simply, Defendant fails to raise any meritorious legal objections to Judge

 Atkins’s recommended disposition. Because the Court finds Judge Atkins’s analysis and

 conclusions persuasive, and for the reasons stated herein:

        IT IS ORDERED that:

        (1)    The Magistrate Judge’s Recommended Disposition (Doc. # 52) is adopted

 as modified herein;

        (2)    Defendant Simms’s Objections (Doc. # 56) to the Recommended

 Disposition are overruled;

        (3)    Defendant Simms’s Motion to Suppress (Doc. # 37) is denied;




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        (4)   The time period from September 11, 2020, through today’s date, totaling

 110 days, is excluded from the provisions of the Speedy Trial Act, pursuant to 18 U.S.C.

 §§ 3161(h)(1)(D), (H); and

        (5)   The telephonic Status Conference for this matter will remain scheduled for

 January 6, 2021, at 1:00 p.m. The call-in information is set forth in the Court’s December

 14, 2020 Order (See Doc. # 61).

        This 30th day of December, 2020.




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